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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,                    Case No. 22-CR-20504

vs.                                             Hon. Jonathan J.C. Grey

AWS MOHAMMED NASER,

               Defendant.
____________________________/


                UNITED STATES’ MOTION TO EXTEND
              DEADLINE TO FILE RESPONSE TO MOTION
                 TO DISCLOSE AND SUPPRESS FISA
                           MATERIALS


       The United States of America moves to extend the deadline to file its

 response to the Defendant’s motion to suppress and for the disclosure of

 materials under the Foreign Intelligence Surveillance Act (“FISA”), as

 amended, 50 U.S.C. §§ 1801 et seq., (Doc. 73). The United States requests

 sufficient time to respond to the Defendant’s motion which seeks to discover

or obtain/suppress FISA materials—namely, an additional 90 days (i.e., until

January 8, 2024). In support of the motion, the Government states as follows:


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                           MEMORANDUM OF LAW

      On December 21, 2022, the United States filed a notice of its intent to

offer into evidence and use information obtained or derived from electronic

surveillance and physical search conducted pursuant to FISA. Doc. 24.

      On September 19, 2023, the Defendant filed a motion seeking

disclosure and suppression of the FISA materials. Doc. 73. Under Local

Rule 7.1(e)(2), the United States must respond to the motion within 21

days (i.e., by October 10, 2023).

      The Defendant’s motion for the disclosure, production, or suppression

of FISA materials, information, or evidence has triggered the review

procedures under 50 U.S.C. §§ 1806(f) (pertaining to electronic surveillance)

and 1825(g) (pertaining to physical searches), which require an in camera, ex

parte review by the Court. In pertinent part, Section 1806(f) provides:

      [W]henever a motion is made pursuant to [Section 1806](e), or
      whenever any motion or request is made by an aggrieved person
      pursuant to any other statute or rule of the United States . . . to
      discover or obtain applications or orders or other materials
      relating to electronic surveillance or to discover, obtain, or
      suppress evidence or information obtained or derived from
      electronic surveillance under this chapter
      . . . the United States district court . . . shall . . . if the Attorney
      General files an affidavit under oath that disclosure or an
      adversary hearing would harm the national security of the
      United States, review in camera and ex parte the application,
      order and such other materials relating to the surveillance as
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       may be necessary to determine whether the surveillance of the
       aggrieved person was lawfully authorized and conducted.

 50 U.S.C. § 1806(f) (emphases added). 1

       The Government’s submission for in camera, ex parte review by this

 Court will include a number of classified and unclassified documents. As

 explained below, some of these documents rely upon the preparation and

 consideration of other documents that have yet to be created. As a result of

 the sequential creation of documents necessary for the Court’s review, the

 Government requires sufficient time to prepare and submit its submission.

       The Government’s submission for the Court’s review will include at a

 minimum: (1) the Government’s Classified Response to the Defendant’s

 motions; (2) a Declaration and Claim of Privilege of the Attorney General of

 the United States (reflecting the Attorney General’s assessment that

 disclosure of, or an adversary hearing with regard to, the classified FISA

 materials would harm the national security of the United States); (3) a

 classified declaration of a high-ranking official from the Federal Bureau of

 Investigation (advising the Attorney General of the sensitivity of the

 classified information, sources, and methods contained in the FISA


1 Section 1825(g) is virtually identical to Section 1806(f), and it sets forth the in

camera, ex parte review procedures pertaining to physical searches under FISA
authorities.
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applications and orders at issue); (4) a classified declaration of an FBI

Supervisory Special Agent or Special Agent detailing the FBI’s compliance

with the minimization procedures approved by the Attorney General and

adopted by the Foreign Intelligence Surveillance Court (“FISC”), which were

used in this investigation; (5) the Government’s Unclassified Response to the

Defendant’s motions; and (6) certified copies of the classified applications,

orders, and any related materials filed with the FISC. All the above

documents are necessary for the Court to determine whether the electronic

surveillance, physical searches, or both, were lawfully authorized and

lawfully conducted.

      In addition to the logistics of obtaining the supporting documentation

necessary for the Court’s in camera, ex parte review, required under Section

1806(f) or Section 1825(g), certain documents in the Government’s

submission cannot be prepared contemporaneously, but must be prepared in

sequential order. For example, the Attorney General 2 cannot assess whether

the disclosure of, or an adversarial hearing with regard to, the classified


2 As defined in FISA, “Attorney General” means the Attorney General of the

United States (or Acting Attorney General), the Deputy Attorney General, or,
upon designation of the Attorney General, the Assistant Attorney General for
National Security. See 50U.S.C. §§ 1801(g), 1821(1). Such designation was
made by then-Attorney General Eric H. Holder, Jr., on April 24, 2009.

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FISA materials would harm the national security until he has been advised

by a high-ranking FBI official regarding the classified information, sources,

or methods that would be compromised by disclosure or an adversary

hearing. As noted above, that advice is provided to the Attorney General by

means of the classified declaration of a high-ranking FBI official, which

discusses in great detail the classified information, sources, and methods

that are contained in the applications, orders, and related materials and the

ensuing harm to national security caused by disclosure or an adversary

hearing. Such a detailed and sensitive document requires careful drafting

and review by the FBI, and then further consideration by the FBI declarant.

Once submitted to the Attorney General, that declaration must again be

accorded careful and deliberate review so that the Attorney General can

appropriately assess the FBI’s advice regarding the harm to the national

security posed by disclosure or an adversarial hearing.

      Furthermore, the Government’s Classified Response discusses, among

other things, the classified information provided to the FISC in support of

the Government’s applications for an order or warrant pursuant to FISA and

the classified declaration of a Supervisory Special Agent or Special Agent of

the FBI regarding the minimization procedures applied to the acquisition,


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retention, and dissemination of the FISA-acquired information. The

Government’s Classified Response cannot be finalized until the minimization

declaration has been drafted, reviewed, and signed by the FBI declarant

because the Government’s Classified Response references specific sections of

the final minimization declaration.

      In addition, as part of its submission to the Court, the Government

will also prepare an unclassified version of its Classified Response, from

which all classified information will be redacted. The Government’s

Unclassified Response cannot be drafted, reviewed, and finalized until the

Government’s Classified Response is completed.

      Finally, in order to prepare the documents discussed above, the

Government must coordinate its submission with various Government

entities, including the Office of the Attorney General; the Office of

Intelligence, National Security Division (“NSD”), Department of Justice

(“DOJ”); the Counterterrorism Section, NSD, DOJ; the FBI’s Office of the

General Counsel; the FBI Counterterrorism Division; and the FBI field office

or offices that conducted the FISA-authorized electronic surveillance,

physical searches, or both.

      In sum, this motion requires a uniquely complex response. The local


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rules providing a 21-day response time do not account for the need to first

move an entirely different court to obtain materials needed for the response.

While the Government began its response as soon as the defense filing

allowed it to, it has no control over an entirely independent court that must

be involved in the process.

      Therefore, the Government requests an additional 90 days to respond

to the Defendant’s FISA-related motion. Such a period will allow the

Government sufficient time to prepare, review, and coordinate the

interdependent and mutually supporting documents and file its submission

with the Court and to brief the Court comprehensively on the facts and the

law related to FISA and FISA-obtained or FISA-derived evidence or

information.

      The Government notes that this case is not currently set for trial.

Discovery in the case is ongoing, and the Court has set a November 6, 2023,

deadline for completion of discovery and submission of motions under the

Classified Information Procedures Act. The Government anticipates that the

amount and complexity of the materials produced by that date will take a

significant amount of time to review before a trial could begin. Moreover, as

the Government has noted on several prior occasions, including during the


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 May and August status conferences, the procedures described above could

 not begin until triggered by a defense filing. Therefore, an extension of 90

 days is unlikely to prejudice the Defendant or otherwise offend the interests

 of justice.

                                CONCLUSION

        For the foregoing reasons, the United States respectfully requests

 that the Court extend the deadline for the United States to file its response to

 the Defendant’s motion to disclose and suppress materials under FISA by 90

 days, to January 8, 2024.

      The Government sought concurrence from the defense to file this motion

 and received a negative response.

                                     Respectfully submitted,

                                     DAWN N. ISON
                                     United States Attorney

                                     /s/Saima S. Mohsin
                                     SAIMA S. MOHSIN
                                     Assistant United States Attorney

                                     /s/Dmitriy Slavin
                                     DMITRIY SLAVIN
                                     Trial Attorney
                                     National Security Division


Date: September 26, 2023

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